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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. TIMOTHY C. STANCEU, JUDGE
__________________________________________
                                           :
HYAXIOM, INC., F/K/A                       :
DOOSAN FUEL CELL AMERICA, INC.,            :
                                           :
                  Plaintiff,               :
                                           :
            v.                             : Court No. 21-00057
                                           :
UNITED STATES OF AMERICA;                  :
U.S. CUSTOMS & BORDER PROTECTION;          :
TROY A. MILLER,                            :
PERFORMING THE DUTIES OF THE               :
COMMISSIONER,                              :
                                           :
                  Defendants.              :
__________________________________________:

   PLAINTIFF HYAXIOM, INC.’S OPPOSITION TO DEFENDANTS’ RENEWED
 CROSS-MOTION FOR SUMMARY JUDGMENT AND REPLY IN SUPPORT OF ITS
             RENEWED MOTION FOR SUMMARY JUDGMENT


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                                       INTRODUCTION

       Plaintiff HyAxiom, Inc. (“HyAxiom”) respectfully submits this Opposition to the

Renewed Cross-Motion for Summary Judgment (“Renewed Cross-Motion”) filed by the

defendants, the United States, et al. (collectively, the “Defendants”), and Reply in Support of its

Renewed Motion for Summary Judgment (“Renewed Motion”). As established in the Renewed

Motion and as further set forth below, there are no genuine issues of material fact that preclude

judgment in favor of HyAxiom because the PC50 supermodule has the principal function of gas

generation and should be classified as gas generators under Heading 8405 of the Harmonized

Tariff Schedule of the United States (“HTS” or “HTSUS”) when the General Rules of

Interpretation (“GRI”) are properly applied.

                                 SUMMARY OF ARGUMENT

       Plaintiff’s Renewed Motion established that there is no genuine dispute that the PC50

supermodule (“PC50”) generates gas for use in the Model 400 powerplant (“Model 400”).

Further, there is no dispute that, while the PC50’s components perform distinct operations, the

components all work together to support the principal function of generating gas.

       Defendants attempt to muddy the waters by contending that the PC50 has no principal

function. However, the undisputed facts in this case show that the PC50 operates to supply a

hydrogen-rich gas to the Model 400 Powerplant, which is the end product into which the PC50 is

incorporated after importation. See Joint Statement of Material Facts, ECF 71, (“JSMF”) ¶ 8.

Defendants’ newfound emphasis on a purported lack of principal function is a mere reframing of

the unavailing argument that they have posed since the beginning of this case, i.e., that the PC50

merely consists of several components of the Model 400 fitted together, all with distinct

purposes. See HyAxiom, Inc. v. United States, 726 F. Supp. 3d 1398, 1406 (Ct. Int'l Trade 2024).

The Court explicitly rejected that argument in its Opinion and Order, finding that despite the



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PC50’s ultimate use in the Model 400, “the uncontested facts demonstrate that it answers to the

description ‘machines designed for the purpose of performing two or more complementary or

alternative functions’” in Note 3 to Section XVI, HTSUS (“Note 3”)), and therefore, it should be

classified by its principal function. Id. at 1406.

        In this case, the PC50’s principal function is gas generation, requiring a classification

under heading 8405, HTSUS. Accordingly, summary judgment should be entered in favor of

HyAxiom on Count I of its First Amended Complaint.

                                            ARGUMENT

I.      THE PC50 IS NOT MERELY A COLLECTION OF COMPONENTS OF THE
        MODEL 400 WITH NO PRINCIPAL FUNCTION

        The fact that the PC50’s various components are interconnected when incorporated into

the Model 400, and have complementary functions that support the efficient operation of the

Model 400, does not change the principal function of the PC50. Defendants contend that “given

that the PC50 is an intricately multifunctional machine designed to generate electricity and heat

for the Model 400’s customers, no one action of the PC50 is more consequential than any other.”

Renewed Cross-Motion at p. 9. That contention, however, is not accurate. The PC50 does not

generate electricity and heat. Rather, the PC50 generates a hydrogen-rich gas that is in turn

consumed by separately-imported systems. JSMF ¶¶ 8, 22. Only after those separately-imported

systems are incorporated together with the PC50 into the Model 400 does the entire finished

product create electricity and heat. Id. ¶¶ 5, 8, 22. For this reason, the “purpose” of the PC50 is

demonstrated in the record of this case as being the generation of a hydrogen-rich gas.

        Defendants are correct that all the PC50’s systems are necessary for the Model 400 to

operate (i.e., to generate electricity). JSMF ¶¶ 4, 21-22, 26, 28, 32, 36. That is because all the

PC50’s systems are also necessary to support its gas generation function, which is the essential




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input for the Model 400’s ability to generate electricity. See Renewed Motion at p. 6; JSMF ¶ 4.

By contending that the PC50 has no principal function because each of its components have a

purpose within the Model 400, Defendants still must presume, impermissibly, that a “part” of a

larger machine (the Model 400) cannot also be a machine with its own principal function. But, as

the Court has already concluded, Notes 2, 3, and 5 to Section XVI, HTSUS, when read together,

compel a conclusion to the contrary. See HyAxiom, Inc. v. United States, 726 F. Supp. 3d at

1405-1406. As stated in the Court’s Opinion and Order, the PC50 is both a part of the Model 400

and a machine in itself. Id. (“Defendant is correct that the PC50 is a ‘part’ and the Model 400 is a

‘machine.’ But as the court explains below, the PC50, according to the uncontested facts, is also

a “machine’”). As such, the classification of the article requires application of the analysis

directed in Note 3 to determine the article’s principal function. Defendants’ bare contention that

no principal function exists is contrary to the undisputed facts.

       While Defendants contend in their Renewed Cross-Motion that the PC50 supermodule is

“more than” (i.e., has features substantially in excess of) gas generation and is designed to be

used as a part of a powerplant, their analysis runs afoul of HTSUS Section XVI, Note 2(a). The

supermodule components cannot be found “more than” or substantially in excess of gas

generation because most of the components in the PC50 support the generation of gas. Indeed,

there is no factual dispute that the PC50 components support the reactions necessary to generate

its gas output. See JSMF ¶¶ 8-35.

       While asserting that the PC50 has no principal function, Defendants notably concede that

“generating electricity and useable heat in the Model 400 cannot be accomplished by the PC50’s

gas generating components alone; doing so, requires the functionality of the balance of all the

PC50’s componentry and systems.” Renewed Cross-Motion at p. 10. That statement (perhaps




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inadvertently) succinctly proves Plaintiff’s point in this case. The function of each PC50

component is necessary, but not sufficient, for the PC50 (and therefore the Model 400

Powerplant) to operate. When all the components of the PC50 (including the Thermal

Management System (TMS), Water Treatment System (WTS), Air Processing Systems (APS),

and the frame) work in tandem, the gas generation needed for the Model 400 to generate

electricity occurs. See generally JSMF.

       Defendants ask the Court to consider hypothetically that the heat transfer and cooling

function of the TMS might be just as important, consequential, and influential, as the gas

generation function and could just as easily be construed as the PC50’s principal function.

Renewed Cross-Motion at p. 14. They argue that if each of the functions of the PC50’s

components is just as important as any other, there is no one “principal” function. Id. However, if

the heat transfer and cooling functions of the TMS were just as important as the gas generation

function of the PC50, that would present the question of what function the gas generation serves

to support the heating and cooling function of the TMS. The undisputed facts do not support the

proposition that gas generation supports the heating and cooling functions of the TMS. Rather, as

stated unequivocally in Explanatory Note (“EN”) 84.05, gas generators are often fitted with

“coolers, dryers, reheaters, etc.,” describing exactly the role of TMS in the PC50. Such auxiliary

apparatus are classified with the gas generators under EN 84.05. Likewise here, the TMS (and

the other auxiliary apparatus) must be classified with the gas generator that is the PC50.

Consequently, despite Defendants’ attempts to confuse the issue (and to ignore the applicable

Explanatory Notes), it is clear that none of the components of the PC50 provides its principal

function. Rather, the PC50 has only one principal function: generating the hydrogen-rich gas

necessary for the Model 400 to function.




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II.       EN 84.05 DESCRIBES THE PRINCIPAL FUNCTION OF THE PC50

          To interpret the legal meaning of “principal function,” the Court may be guided by the

terms of heading 8405, which includes gas-generating machines whether presented “with or

without their purifiers.” EN 84.05(B) provides helpful guidance on the interpretation of that

phrase:

                 For certain uses, particularly for supplying gas engines, producer
                 or water gases must be cleaned of impurities such as dust, tars,
                 sulphurous compounds, etc., and sometimes reheated or cooled.
                 For this purpose, the generators are often fitted with purifiers
                 (comprising perforated cones, coke beds, scrubbers, etc.), coolers,
                 dryers, reheaters, etc. Such purifiers and other auxiliary apparatus
                 are classified with the generators when presented therewith,
                 provided they are clearly suitable for use together.

EN 84.05(B).

          Defendants never posit that the components of the PC50 are not clearly suitable for use

with each other, as described by EN 84.05. Rather, Defendants merely contend that “context

otherwise requires” that a Note 3 principal function analysis cannot resolve the classification in

this case. Renewed Cross-Motion at p. 15. But, as outlined in Section II.C below, no such

context exists. None of the PC50 components by themselves generates a gas, but together the

PC50 does generate a gas. And each of the PC50 components falls clearly within the descriptions

of “auxiliary apparatus” enumerated in EN 84.05 as examples of apparatus required to be

classified with the gas generator. Specifically, the ILS purifies the incoming natural gas (JSMF ¶

15); the TMS cools the system (id. ¶ 23); the WTS purifies water used in the system (id. ¶ 30);

the APS both supplies process air (a gas) and cools the system (id. ¶¶ 31-33); and the frame is a

support apparatus clearly suitable for use with the other parts (id. ¶ 34). Defendants fail to

contend with the fact that the PC50’s components are straightforwardly described in EN 84.05,




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which further supports the conclusion that the principal function of the PC50 is gas generation.

Consequently, the PC50 is properly classified under heading 8405, HTSUS.

III.   DEFENDANTS PROVIDE NO AUTHORITY THAT “CONTEXT OTHERWISE
       REQUIRES” THAT A NOTE 3 PRINCIPAL FUNCTION ANALYSIS CANNOT
       RESOLVE THE CLASSIFICATION OF THE PC50

       Note 3 to Section XVI sets out the “principal function” analysis for articles in that

Section, as follows:

               Unless the context otherwise requires, composite machines
               consisting of two or more machines fitted together to form a whole
               and other machines designed for the purpose of performing two or
               more complementary or alternative functions are to be classified as
               if consisting only of that component or as being that machine
               which performs the principal function.

Note 3 to Sec. XVI, HTSUS (emphasis added). Defendants are drawn to the first phrase of Note

3 as chimerical support for the contention that when the principal function cannot be identified, a

principal function analysis is not feasible. That, however, is not the meaning of the phrase

“context otherwise requires.” The phrase, as used in Note 3, is understood to mean that Chapter

and Section notes should not be read to contradict or be incompatible with other provisions. See

BenQ Am. Corp. v. United States, 646 F.3d 1371, 1380 (Fed. Cir. 2011). For example, a heading

should not be read to override another specific note. Id. (“It is highly unlikely that the drafters

intended to override the specifically tailored Note 5(B), which sets forth the statutory

requirements for heading 8471, with Section XVI, Note 3's general analysis… Here, we think

that, by reason of the language of Note 5(B), ‘the context otherwise requires.’”) There are no

contradictory terms or provisions relevant to this article, nor do Defendants contend any exist.

       Defendants argue, with no citation to supporting authority, that when a multi-component

machine has interconnected functions, “context” requires that the principal function analysis may

not be used to resolve the classification of the article (but rather the heading alone should be




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used). However, this is a strained reading of the phrase “context otherwise requires” that should

not be countenanced by the Court. See, e.g., Keystone Auto. Operations, Inc. v. United States,

No. 21-00215, 2025 WL 1144820, at *2 (Ct. Int’l Trade Apr. 18, 2025) (declining to apply a

novel argument, unsupported by legal authority, to read ‘unless the context otherwise requires’ to

create a new standard that supersedes the normal analysis under the GRIs and ARIs usually

applied by the court). Rather, as the Court directs in its Order in this case, an analysis of the

principal function of the PC50 should be undertaken under Note 3. HyAxiom, Inc. v. United

States, 726 F. Supp. 3d at 1406. When the undisputed functions of the components of the PC50

are examined, it is clear that gas generation is the principal function of the machine, as

understood in Note 3.

IV.    DEFENDANTS FAIL TO DISTINGUISH AUTHORITY SUPPORTING THE
       PC50’S CLASSIFICATION ACCORDING TO ITS PRINCIPAL FUNCTION OF
       GAS GENERATION

        In their Renewed Cross-Motion, the Defendants fail to distinguish Belimo Automation

A.G. v. United States, 774 F.3d 1362 (Fed. Cir. 2014) (Belimo) and McKesson Canada Corp. v.

United States, 365 F.Supp.3d 1310 (Ct. Int’l Trade 2019) (McKesson), which support the

classification of the PC50 under heading 8405, HTSUS. In fact, the position taken by the

government in McKesson, which was properly rejected, could not be more similar to Defendants’

stance here. Like Defendants here, the government in McKesson contended that the composite

pharmacy system had no single principal function, such that Note 3 was not applicable.

McKesson at 1318. And just as in McKesson, “[t]he government’s arguments are unconvincing”

because although the components all had separate, enumerable purposes, none of those purposes

(such as weighing, measuring, labeling, storing, sorting, and data processing) overrode the

article’s ultimate function of packaging prescription drugs. Id.




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       Defendants’ only effort to distinguish McKesson and Belimo appears to be their

contention that the principal functions of the machines in those cases were “clearly defined,”

whereas the PC50’s is not. Renewed Cross-Motion at p. 12. But beyond that conclusory

statement, Defendants fail to explain exactly what is more clearly defined about the components

in those cases than in the instant case. The government in McKesson was as convinced as

Defendants here appear to be that the imported article was a composite grouping of components

without a single clear principal function. McKesson, 365 F.Supp.3d at 1318. However, in

analyzing the components at issue in McKesson, the court disagreed and found the principal

function as a prescription packaging machine. Id. at 1321. In analyzing the PC50’s components,

which are established in the record of this case to be complementary to its gas generation

function, the Court here should likewise conclude that the PC50 has a principal function easily

identified as the generation of gas.

                                         CONCLUSION

       For the foregoing reasons, the subject PC50 supermodule is properly classifiable under

HTS 8405; and Defendants’ classification of the PC50 supermodule under HTS 8479 is incorrect

as a matter of law. Accordingly, HyAxiom’s Renewed Motion for Summary Judgment should be

granted and the judgment requested in HyAxiom’s Proposed Order should be entered.



                                                Respectfully submitted,

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                           CERTIFICATE OF COMPLIANCE

       I, Christopher M. Loveland, counsel on behalf of Plaintiff HyAxiom, Inc., f/k/a Doosan

Fuel Cell America, Inc., relying upon the word count feature of the Word processing program

used to prepare the foregoing memorandum, certify that this memorandum complies with the

word count limitation under the Court’s Chambers Procedures, and contains 2,460 words.

                                                   /s/ Christopher M. Loveland
                                                   Christopher M. Loveland




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